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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

GLENDA A. JONES,

      Plaintiff,

vs.                                                        CASE NO. 3:01-cv-95-J-TEM

MICHAEL J. ASTRUE,1
Commissioner of Social Security,

      Defendant.



                                         ORDER

      Plaintiff’s counsel in this Social Security case has filed a Motion for Award of

Attorney Fees under 42 U.S.C. § 406(b) (Doc. #34), seeking an award under a contingency

fee contract for twenty-five percent of the past due benefits Plaintiff was awarded in the

case. The Defendant has filed a response opposing the award of the full twenty-five

percent, arguing it would amount to a windfall (Doc. #35).

      History of case:

      Plaintiff initially filed this action in federal court as a pro se litigant in January 2001

(Doc. #1). Defendant, the Commissioner of the Social Security Administration, moved to

have the case remanded for further administrative action in May 2001 (Doc. #9). Remand

was granted (Doc. #12). The Defendant moved to reopen the case in December 2003

(Doc. #13) and filed an answer (Doc. #14). Plaintiff’s counsel filed her appearance about

two weeks later (Doc. #16).

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        On February 12, 2007, Michael J. Astrue became the Commissioner of Social
Security. Pursuant to Rule 25, Federal Rules of Civil Procedure, Michael J. Astrue is
substituted as Defendant herein.
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       Plaintiff’s brief was filed in May 2004 (Doc. #22) and Defendant filed a memorandum

in support of the Commissioner’s decision denying benefits (Doc. #23). Oral argument was

held in February 2005 (Doc. #26). An Order and Opinion was issued reversing the

Commissioner’s decision and remanding the case for further proceedings in March 2005

(Docs. #28, #29).

       Plaintiff filed a motion for attorney fees under the Equal Access to Justice Act

(“EAJA”)2 (Doc. #30), which was granted (Doc. #31).

       Subsequently, the Social Security Administration, after further administrative

hearing, awarded disability benefits to the Plaintiff with the benefits commencing on

February 29, 1996, based on Plaintiff’s 1997 application (Doc. #34-1, Exh. A).

       Thereafter, the instant motion for attorney fees was filed (Doc. #34).

       Social Security statutory fee structure:

       Congress has enacted laws to regulate fees for representation of Social Security

claimants at both the administrative stage and in federal court. At the administrative stage,

42 U.S.C. § 406(a)(1) provides the Commissioner may “fix” a reasonable fee for

representation before the agency in accordance with regulations. Under that section, the

fees for a successful applicant are capped at an agreed amount, providing it is no more

than twenty-five percent of the past-due benefits or $4,000, whichever is lower. 42 U.S.C.

§ 406(a)(2)(A). The statute allows the Commissioner to raise the $4,000 cap periodically

to correspond with increases in primary insurance amounts. 42 U.S.C. § 406(a)(2)(A)(iii).

       For cases in which a court has issued a judgment favorable to a claimant



       2
           Title 28 U.S.C. § 2412.

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represented by an attorney, the Court “may determine and allow as part of its judgment a

reasonable fee for such representation, not in excess of twenty-five percent of the total of

the past-due benefits to which the claimant is end by reason of such judgment. . . .” 42

U.S.C. § 406(b)(1)(A). That section has been interpreted to allow an award of benefits

where the district court remands the case to the Commissioner of Social Security and the

Commissioner on remand awards past-due benefits. Bergen v. Commissioner of Social

Security, 454 F.3d 1273, 1276 (11th Cir. 2006).

       An attorney for a prevailing party also may claim “within thirty days of final judgment”

reasonable fees for the representation under the Equal Access to Justice Act, 28 U.S.C.

§ 2412 (b). The party also must allege that the position of the United States in the matter

“was not substantially justified.” 28 U.S.C. § 2412 ((d)(1)(B). That fee may be claimed

within thirty days after the court issues final judgment in the action, which the statute

defines as a “judgment that is final and not appealable. . . .” 42 U.S.C. § 2412(d)(2)(G).

In a case involving a sentence six remand, the filing period does not begin until after the

post-remand proceedings are completed, the Commissioner returns the case to federal

court, the court enters final judgment and the appeal period runs. See Melkonyan v.

Sullivan, 501 U.S. 89, 102 (1991).

       In defining “not substantially justified,” the Supreme Court has indicated EAJA fees

are not available every time a claimant prevails, but only when the Commissioner’s position

lacks “a reasonable basis in law and fact.” Pierce v. Underwood, 487 U.S. 552, 566 n.2

(1988).

       An attorney who is successful in claiming both EAJA fees from the United States and

an award under § 406(b) (which comes out of past-due benefits) must refund “to the

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claimant the amount of the smaller fee.” Gisbrecht v. Barnhart, 535 U.S. 789, 796 (2002).

       Legal analysis:

       The questions presented are whether awarding the amount requested under the

contingency fee agreement is reasonable, and, if it is not, what constitutes a reasonable

fee. The framework for the analysis comes from the Gisbrecht case, in which the Supreme

Court examined conflicting methods of calculating fees under § 406(b) in various circuits.3

The Court concluded that § 406(b) does not displace contingency fee arrangements as the

primary means by which fees are set for representing Social Security claimant in court.

Gisbrecht, 535 U.S. at 807.      The Court found that Congress had determined that

contingency fee agreements would be unenforceable if they exceed twenty-five percent,

but within that boundary the attorney need only show that the fee sought is “reasonable for

the services rendered.” Id. The Court said downward adjustments can be made if the

benefits are large in comparison to the amount of time counsel has spent in the case to

prevent windfalls. Id. at 808.

       The Court did not issue specific guidelines for determining reasonableness, noting

that courts are accustomed to making reasonableness determinations. Id. The Court did,

however, note with approval that lower courts appropriately considered the character of the

representation, the results achieved and any delay caused by the attorney, when assessing



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        The Eleventh Circuit was one of several circuits using a lodestar method based on
hours spent on a case multiplied by a reasonable hourly rate. Gisbrecht at 799; Kay v.
Apfel, 176 F.3d 1322, 1324 (11th Cir. 1999). The Supreme Court noted the lodestar method
was commonly used in fee-shifting situations in which the losing party was required to pay
the fee. Under § 406(b), however, the fee is paid from the past-due benefits collected.
Moreover, the Court noted that Congress had in 1990 authorized contingency-fee
agreement for agency-level representation in § 406(a). Gisbrecht, 535 U.S. at 805.

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the reasonableness of the sought fees. Id. Gisbrecht also indicates the lower courts may

require the attorney to submit a record of the hours spent representing the client, as well

as the lawyer’s normal hourly billing charge. Id.

       Justice Scalia in a dissenting opinion stated “I do not know what the judges of our

district courts and courts of appeal are to make to today’s opinion,” indicating that the

factors the court proposed courts examine in determining reasonableness are the antithesis

of contingency fee agreements. Id. at 809. He also stated that the majority opinion does

nothing to subject § 406(b) fees to “a uniform rule of law.” Id.

       Some courts indeed have indicated difficulty in applying the aforementioned factors.

One district court in 2006 noted that Gisbrecht does not instruct precisely how a district

court should quantify the “downward adjustment” when the court concludes such an

adjustment is in order. Ellick v. Barnhart, 445 F.Supp. 2d 1166, 1168 (C.D. Cal. 2006). In

Ellick, the court analyzed forty-three reported post-Gisbrecht decisions and concluded in

twenty-three cases the courts had approved the requested twenty-five percent contingency

fees, although using different reasoning; in eight cases the attorneys had requested fees

which were less than twenty-five percent and the courts had approved those requests; and,

in twelve cases the courts reduced requested fees. Ellick, supra, 445 F.Supp. 2d at 1168-

1171. Of the cases in which fees were reduced to less than twenty-five percent of the

awarded benefits, two courts used de facto hourly fees of 2.5 times the attorney’s normal

hourly rate, three reduced fees to rates the judges considered reasonable based on

experience, and in five cases the fees were reduced drastically without precise




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explanation.4

       One circuit has affirmed a district court’s award of a twenty-five percent fee over the

Commissioner’s objection that the award resulted in an hourly “windfall” rate of $736.84.

Mudd v. Barnhart, 418 F..3d 424, 417 (4th Cir. 2004). The Fourth Circuit found the district

court had considered the overall complexity of the case, the lawyering skills necessary, the

risks involved, and the significance of the result achieved in district court. Id. at 428. Such

analysis was satisfactory to determine a reasonable fee under Gisbrecht.

       In this district, one court has found a range up to 2.5 times a normal fee would be

reasonable, particularly with regard to other factors in that case. In Johnson v. Barnhart,

Civil Action No. 3:03-cv-68-J-MMH (M.D. Fla., January 12, 2007)(unpublished decision),

the court concluded $250 per hour constituted a normal hourly rate for Social Security

appeals and up to 2.5 times that rate would reasonably account for the contingency nature

of the case.

       Application to the case:

       In accordance with Gisbrecht, the Court will determine a reasonable fee award

considering counsel’s experience and background, her work on this case, the hours spent

representing the client at the district court level, the complexity of the case, the difficulty of




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        The other two cases involved somewhat unusual facts where the courts deducted
fees attributed to a paralegal’s work in one case and in the other case decreased fees
based on a recovery for two minor children which did not involve additional work on the
attorney’s part. Ellick, 445 F.Supp. 2d at 1171.
       Clearly, there have been numerous other cases in the last year since Ellick, but this
Court has not noticed any further distinctive trend that would require additional analysis.

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the case at the time counsel agreed to take it,5 whether counsel caused any delay, and

counsel’s normal hourly rate. In this case:

       (1) Counsel’s practice is devoted to Social Security cases. Indeed, she is author

of several publications concerning Social Security law, including Bohr’s Social Security

Issues Annotated, with annual supplements, a well-regarded compilation of Social Security

case law by appellate circuits (see Doc. #40-2). She is (or was) president of the National

Organization of Social Security Claimant’s Representatives and has lectured for twenty

years on Social Security topics (Doc. #40-2).

       (2) The attorney handling the case began representing the client in 2003 after the

client had filed the district court appeal of the Commissioner’s denial of benefits.6 Counsel

filed a twenty-page memorandum which was fact specific and avoided a boiler-plate

recitation of Social Security law. In additional, oral argument was held at which counsel

argued persuasively.      The Court issued a decision remanding the case to the

Commissioner, citing two reasons specifically raised by counsel.7


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       The Court notes that in the Eleventh Circuit’s consideration of a reasonable fee
under the lodestar method, one of the twelve factors examined was “the undesirability of
the case.” Kay v. Apfel, supra, 176 F.3d at 1327. Given the nature of Social Security
cases, particularly those in which the attorney is not in the case at the beginning, that
seems an appropriate factor even under a Gisbrecht analysis. The factor also could be
viewed as the substantial risk of loss at the time the case was undertaken.
       6
        The Commissioner had initially denied benefits in 2001 and the client filed an
appeal in district court. The Commissioner then requested a remand under 42 U.S.C. §
405(g). (Doc. #9). Subsequently, the Commissioner again denied benefits, the district
court case was reopened, and counsel filed her appearance (Doc. #16).
       7
        The two issues were that the administrative law judge failed to comply with the
Commissioner’s regulations in evaluating a claimed mental impairment and that the ALJ
did not pose a proper question to a vocational expert because the question ignored severe
impairments found by the ALJ.

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        After the remand, another ALJ issued an opinion fully applying the Regulations

directed to the mental impairments and thereby found the claimant disabled (Doc. # 34-2).

At the subsequent hearing, and after a complete hypothetical question, the VE testified

there was no work in the national economy the claimant could perform.

        The medical history in the case was complex and the administrative file was

voluminous, as indicated by the ALJ’s decision (Doc. #34-2). Counsel alertly found two

issues which proved persuasive at both the district court level and the subsequent ALJ

hearing.

        (3) Counsel spent 33.9 hours working on the case at the district court level (Doc.

#40-2), an amount of time the Court considers reasonable based on the complexity of the

case.

        (4) As stated above, the medical history in the case was extensive and the case

involved substantial complexity. The claimant was awarded more than $70,000 in past-

due benefits.

        (5) Because counsel was not contacted by the claimant until after the Commissioner

had obtained a remand and then a second denial of benefits by an ALJ’s decision, counsel

notes she took a substantial risk of loss when accepting the case (Doc. #34 at 8). The

Court agrees with that assessment. At the time counsel accepted the case, there had been

two ALJ decisions denying benefits. It was not a simple case involving an incomplete

record, but rather was one that required a full examination of the record on the merits. See,

e.g., Thomas v. Barnhart, 412 F.Supp. 1240, 1244 (M.D. Ala. 2005) (discussing assumption

of risk by an attorney representing a previously denied disability claimant). Thus, as in

Thomas, there was a “very real risk of [counsel] gaining nothing in return for [her] efforts.”

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Id.

       (6) Counsel did request one continuance to file Plaintiff’s brief in the case, causing

a delay of under two months. However, the reasons stated in her request were justified

(Docs. #19, #20), particularly considering the complexity of the record and the fact counsel

had been of record for only about five months.

       (7) Counsel stated that her normal hourly rate at the time was $200 an hour (Doc.

#40-2), a rate the Court finds reasonable considering her expertise.

       Dividing the contingency fee by the hours spent at the district court level, the fee

would create an hourly rate of about $510 in this case. That dollar amount is approximately

2.5 times the normal hourly rate. There was an EAJA award of $5,092.64 in the case,

which counsel will have to return.

       The Commissioner argues that even if the EAJA fees are subtracted from the

calculation, the hourly fee would amount to $362 an hour and still be a “windfall.” (Doc.

#35). The Court cannot agree. Some Social Security attorneys in the area have hourly

rates greater than that amount.

       The Court would note that the requested fee would amount to approximately $510

an hour for the district court work in this case, an amount less than the $736 an hour fee

approved by the Fourth Circuit in Mudd. In addition, the fee in this case would be

approximately 2.5 times the attorney’s normal fee, a factor another court in this district has

considered. Johnson v. Barnhart, Civil Action No. 3:03-cv-68-J-MMH (M.D. Fla., January

12, 2007)(unpublished decision).

         Counsel argues that a fee of about 2.7 times the fee the attorney would have

charged based on a normal hourly rate is necessary to make up for the risk of loss in Social

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Security cases (Doc. #34 at 7). Without disputing the statistical analysis counsel applied8,

the Court would note that it would seem to omit that counsel may receive EAJA fees in

some of the remanded cases in which the plaintiffs do not prevail on remand. Nonetheless,

the Court merely considers the statistical analysis another factor in an overall determination

of reasonableness.

       Considering all of the factors in the case, the Court finds the requested fee is

reasonable under the direction of Gisbrecht.

       Conclusion

       The Court will GRANT counsel’s Motion for Award of Attorney Fees under 42 U.S.C.

§ 406(b) in the amount of $17,363.75. However, as required under the statute and

Gisbrecht, counsel must refund to the Plaintiff the amount of $5,092.64 representing the

EAJA fees previously awarded counsel (Doc. #31).

       DONE AND ORDERED at Jacksonville, Florida this 30th           day of July, 2007.




Copies to:
All counsel of record




       8
         Counsel argues based on 2000 statistics that federal courts award plaintiffs
disability in six percent of cases and remand in another forty-eight percent of cases. After
the remand, about sixty percent of claimants are awarded benefits. She thus argues that
claimants prevail only about thirty-five percent of the time. Thus, to make up for the risk
of loss, Social Security counsel need to charge a winning client 2.7 times the fee the
attorney would have charged on a non-contingent basis.

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